      Case 2:21-cr-00331-MHT-SMD Document 73 Filed 05/31/22 Page 1 of 5



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA          )
                                  )             CRIMINAL ACTION NO.
        v.                        )                2:21cr331-MHT
                                  )                     (WO)
LAKEYLEA       ANDREA    JACKSON, )
JR.                               )


                                   ORDER

      This     cause     is    before     the     court     on    defendant

Lakeylea       Andrea    Jackson,       Jr.’s    unopposed       motion   to

continue his trial.            For the reasons set forth below,

the court finds that jury selection and trial, now set

for    June    13,   2022,     should    be     continued      pursuant    to

18 U.S.C. § 3161.

      While the granting of a continuance is left to the

sound discretion of the trial judge, see United States

v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the

court     is   limited    by    the   requirements        of     the   Speedy

Trial Act, 18 U.S.C. § 3161.              The Act provides in part:

      “In any case in which a plea of not guilty is
      entered, the trial of a defendant charged in
      an   information   or  indictment   with   the
      commission of an offense shall commence within
   Case 2:21-cr-00331-MHT-SMD Document 73 Filed 05/31/22 Page 2 of 5




    seventy days from the filing date (and making
    public) of the information or indictment, or
    from the date the defendant has appeared
    before a judicial officer of the court in
    which such charge is pending, whichever date
    last occurs.”

§ 3161(c)(1).     The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”        § 3161(h)(7)(A).               In   granting      such    a

continuance,     the       court    may       consider,      among   other

factors,   whether     a    failure      to    grant   the    continuance

“would be likely to ... result in a miscarriage of

justice,” § 3161(h)(7)(B)(i), or “would deny counsel

for the defendant ... the reasonable time necessary for

effective preparation, taking into account the exercise

of due diligence,” § 3161(h)(7)(B)(iv).

    The Act also excludes from the 70-day period any

continuance based on “[a]ny period of delay resulting

from the absence or unavailability of the defendant or

an essential witness.”             § 3161(h)(3)(A).          An essential


                                     2
      Case 2:21-cr-00331-MHT-SMD Document 73 Filed 05/31/22 Page 3 of 5




witness, or defendant, is absent “when his whereabouts

are    unknown,      and,    in   addition,       he   is     attempting      to

avoid apprehension or prosecution or his whereabouts

cannot         be         determined         by        due         diligence.”

§ 3161(h)(3)(B).            An essential witness, or defendant,

is unavailable “whenever his whereabouts are known but

his    presence      for     trial     cannot     be    obtained       by    due

diligence or he resists appearing at or being returned

for trial.”         Id.

      The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Jackson in a speedy trial.

A continuance is warranted because an essential witness

is    unavailable.          According       to    defense      counsel,      the

government recently shared that it will be utilizing an

additional type of location data to provide evidence of

Jackson’s       whereabouts.              Moreover,      defense       counsel

represents that his forensic expert, whose services the

court    has    previously        found    necessary         for   Jackson    to



                                       3
   Case 2:21-cr-00331-MHT-SMD Document 73 Filed 05/31/22 Page 4 of 5




receive    adequate      representation,             has     a     personal

conflict with the June 13 trial date.                  See Def.’s Mot.

to Continue (Doc. 72).          Defense counsel states that a

continuance is necessary to ensure the defense expert’s

availability to testify at trial.                The government does

not oppose the requested trial continuance.                      The court,

therefore,    finds    that    a    continuance        to    obtain     the

defense   expert’s     presence         at   trial   is     necessary    to

ensure the fairness of Jackson’s trial and the adequacy

of his defense.

                                   ***

    Accordingly, it is ORDERED as follows:

    (1) Defendant Lakeylea Andrea Jackson, Jr.’s motion

to continue trial (Doc. 72) is granted.

    (2) The jury selection and trial, now set for June

13, 2022, are reset for August 8, 2022, at 10:00 a.m.,

in Courtroom 2FMJ of the Frank M. Johnson Jr. United

States    Courthouse       Complex,           One     Church        Street,

Montgomery, Alabama.



                                    4
   Case 2:21-cr-00331-MHT-SMD Document 73 Filed 05/31/22 Page 5 of 5




       The United States Magistrate Judge shall reset the

plea    deadline    and    any    other     appropriate       pretrial

deadlines and shall conduct another pretrial conference

prior to the new trial term.

       DONE, this the 31st day of May, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                  5
